           Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 1 of 7




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 14-1159V
                                       Filed: April 3, 2015
                                          Unpublished

****************************
IAN MARLEY,                            *
                                       *
                    Petitioner,        *       Stipulation on Damages;Tetanus-
                                       *       Diptheria-acellular Pertussis (“Tdap”)
                                       *       Vaccine; Hepatitis A Vaccine; Shoulder
SECRETARY OF HEALTH                    *       Injury; Adhesive Capsulitis;
AND HUMAN SERVICES,                    *       Special Processing Unit
                                       *
                    Respondent.        *
                                       *
****************************
Amber Wilson, Esq., Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Lynn Ricciardella, Esq., US Department of Justice, Washington, DC, for respondent.

                                   DECISION ON STIPULATION1

Vowell, Chief Special Master:

        On December 1, 2014, Ian Marley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that he suffered adhesive capsulitis
and/or a right shoulder injury that was caused-in-fact by his Hepatitis A, and Tetanus-
Diptheria-acellular Pertussis (“Tdap”) vaccinations administered on February 28, 2014.
Stipulation, filed April 2, 2015, ¶¶ 2, 4. Petitioner further alleges that he experienced the
residual effects of his injury for more than six months, has filed no other action for this
injury, and has received no prior award or settlement. Stipulation¶¶ 4-5. Respondent
denies that petitioner’s vaccinations caused petitioner to suffer adhesive capsulitis, a
right shoulder injury, or any other injury. Stipulation, ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
          Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 2 of 7



        Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
April 2, 2015, the parties filed a stipulation agreeing to settle this case and describing
the settlement terms.

       Respondent agrees to pay petitioner a lump sum of $40,000.00 in the form of a
check payable to petitioner. Stipulation, ¶ 8. This amount represents compensation for
all damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                     2
Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 3 of 7
Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 4 of 7
Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 5 of 7
Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 6 of 7
Case 1:14-vv-01159-UNJ Document 25 Filed 04/24/15 Page 7 of 7
